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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X   Case No.
SVETLANA SHKOLNIKOVA,

                                      Plaintiff,                            COMPLAINT

                        - against -
                                                                            PLAINTIFF DEMANDS
MEGAN J. BRENNAN, POSTMASTER GENERAL,                                       A TRIAL BY JURY
and ADELA LIVINGSTON, Individually,

                                     Defendants.
------------------------------------------------------------------------X

        Plaintiff, SVETLANA SHKOLNIKOVA, by her attorneys, PHILLIPS & ASSOCIATES,

Attorneys at Law, PLLC, hereby complains of the Defendants, upon information and belief, as

follows:

                                          NATURE OF THE CASE

1.      This is the case of the pregnant postal worker who was fired for being with child before

        she even could ring once, let alone twice.

2.      Plaintiff complains pursuant to Title VII of the Civil Rights Act of 1964, as codified, 42

        U.S.C. §§ 2000e to 2000e-17 (amended in 1972, 1978 and by the Civil Rights Act of

        1991, Pub. L. No. 102-166 (“Title VII”), New York State Human Rights Law, New York

        State Executive Law, § 296 (“NYSHRL”), et seq., and the New York City Human Rights

        Law, New York City Administrative Code § 8-502(a), et. seq. (“NYCHRL”), and seeks

        damages to redress the injuries Plaintiff has suffered as a result of being discriminated

        and retaliated against by her employer due to her pregnancy, gender (female), as well as

        her request for reasonable accommodation of her pregnant condition, and ultimately

        terminated by her employer solely for these unlawful reasons.
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                               JURISDICTION AND VENUE

3.   Jurisdiction of this Court is proper under 42 U.S.C. § 2000e-5(f)(3) and 28 U.S.C. §§

     1331 and 1343.

4.   The Court has supplemental jurisdiction over the claims of Plaintiff brought under state

     and city law pursuant to 28 U.S.C. § 1367.

5.   Venue is proper in this District pursuant to 28 U.S.C. §1391(b) as Defendants reside

     within the Eastern District of New York and the acts complained of occurred therein.

                            PROCEDURAL PREREQUISITES

6.   By (a) timely filing an Individual Complaint with Defendant UNITED STATES POSTAL

     SERVICE (“USPS”) on June 17, 2016; (b) receiving a Final Agency Decision from the

     United States Equal Employment Opportunity Commission (“EEOC”) on August 14,

     2018; (c) commencing this action within 90 days of the issuance of the Final Agency

     Decision by the EEOC; and (d) contemporaneously with the filing of this Complaint,

     having mailed a copy of the Complaint to the New York City Commission of Human

     Rights (“NYCCHR”) and the Office of the Corporation Counsel of the City of New York

     pursuant to the notice requirements of Section 8-502 of the New York City

     Administrative Code, Plaintiff has satisfied all of the procedural prerequisites for the

     commencement of the instant action. A copy of the Final Agency Decision is annexed

     hereto as Exhibit A; a copy of the transmittal letter to the NYCCHR, et ano., is annexed

     hereto as Exhibit B.

                                         PARTIES

7.   At    all   times      relevant   hereto,       Plaintiff   SVETLANA   SHKOLNIKOVA

     (“SHKOLNIKOVA”) is a resident of the State of New York and County of Brooklyn.


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8.    At all times relevant hereto, Defendant USPS is a Federal Government Agency existent

      pursuant to Untied States Constitution and the laws thereunder, maintaining offices all

      over the country.

9.    In regards to the present matter, Defendant USPS maintains a “Homecrest” station

      located at 2370 East 19th Street, Brooklyn, NY 11235.

10.   At all times relevant hereto, Plaintiff SHKOLNIKOVA was an employee of Defendant

      USPS.

11.   At all times relevant hereto, Defendant ADELA LIVINGSTON (“LIVINGSTON”) was

      an employee of Defendant USPS, holding the position of “USPS Area Manager.”

12.   At all times relevant hereto, Defendant LIVINGSTON was Plaintiff SHKOLNIKOVA’s

      supervisor and/or had supervisory authority over Plaintiff. Defendant LIVINGSTON had

      the authority to hire, terminate, and affect the terms and conditions of Plaintiff

      SHKOLNIKOVA’s employment or to otherwise influence the decision maker of same.

13.   Defendant USPS and Defendant LIVINGSTON, are collectively referred to herein as

      “Defendants.”

                                    MATERIAL FACTS

14.   In or about February 6th, 2016, Plaintiff SHKOLNIKOVA was hired by Defendant USPS

      for the position of “City Carrier Assistant,” earning approximately $16.00 an hour. At the

      time of her hiring, Plaintiff was 24 weeks pregnant, clearly showing signs of such, and the

      Defendants were on notice of her pregnancy.

15.   Upon information and belief, the individual who interviewed the Plaintiff

      SHKOLNIKOVA for the position was on notice that the Plaintiff was pregnant.

16.   In or about February 16th, 2018, following a week of training, Plaintiff SHKOLNIKOVA



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      was sent to work at the Homecrest Station (hereafter “Homecrest”) located at 2370 19th

      Street, Brooklyn, NY 11235 for “on-the-job” training, whereupon she met the Station

      Supervisor, Steven Smerling, as well as the Area Manager, Defendant LIVINGSTON to

      receive her assignment. The Plaintiff informed both the Station Supervisor and Area

      Manager that she was pregnant as well as mentioned her due date. Defendant

      LIVINGSTON assigned the Plaintiff SHKOLNIKOVA to the Bay Street Station

      (hereafter “Bay Street”) located at 2628 East 18th Street, Brooklyn, NY 11235 to report on

      Wednesday February 17th, 2016 for the on the job training.

17.   On or about February 18th, 2016, the Plaintiff SHKOLNIKOVA was given a letter of

      advisory by her OB-GYN Dr. Saul R. Stromer, stating that she was to be placed on

      restricted/limited/light duty due to her physical condition. Contained within this letter was

      the limitation that the Plaintiff SHKOLNIKOVA was not to lift any heavy objects nor

      push/pull anything heavy as it may cause harm to her health or health of her unborn child.

      Plaintiff SHKOLNIKOVA was informed by her doctor to present the letter to her

      employer.

18.   On or about February 19, 2016, Plaintiff SHKOLNIKOVA was told by the supervisor of

      Bay Street, Ms. Linda Robinson to report back to the Homecrest location following her

      training at 7:30 A.M. the following morning.

19.   On or about February 22nd, 2016, Plaintiff SHKOLNIKOVA presented her letter of

      advisory from her doctor to the Area Manager at Homecrest, Defendant LIVINGSTON.

      Plaintiff SHKOLNIKOVA was then informed by another supervisor at the Homecrest

      location to report in on Tuesday, February 23rd, 2016.

20.   On February 23rd, 2016, Plaintiff SHKOLNIKOVA reported to work at the Homecrest



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      location whereupon the Station Supervisor, Mr. Smerling, informed her that there was no

      work for her to do. Mr. Smerling further informed the Plaintiff SHKOLNIKOVA that this

      decision was on the direct orders of Defendant LIVINGSTON.

21.   Plaintiff SHKOLNIKOVA thereupon filed a grievance with the National Association of

      Letter Carriers (hereafter “NALC”), the national labor union for postal workers seeking

      redress for violation of the employment contract she had signed.

22.   Specifically, Plaintiff SHKOLNIKOVA grieved under the provision that guaranteed at a

      minimum four hours of work when an employee reports to work on time.

23.   Plaintiff SHKOLNIKOVA was then informed by Mr. Sterling that she needed to provide

      further detailed documentation concerning the limitations that her doctor proscribed in his

      initial letter of advisory.

24.   On or about February 24th, 2016, Plaintiff SHKOLNIKOVA obtained a second letter from

      her doctor stating: “Please be informed that my patient Mrs. Svetlana Shkolnikova is

      currently pregnant, and her expected due date of delivery is 5/31/2016. I have advised my

      patient to modify her work duties no heavy lifting she can only lift up to 10 pound and no

      using stairs.”

25.   On or about February 24th, 2016, Plaintiff SHKOLNIKOVA provided the letter to a Ms.

      Lin (first name unknown) who stated that she would deliver the letter to Defendant

      LIVINGSTON.

26.   On or about February 25th, 2016, Plaintiff called the Homecrest location in the evening

      seeking out her weekly schedule, and she was told by a Mr. Middleton (first name

      unknown), another supervisor, to report to work at 10:30 A.M. on February 29th, 2016.

27.   On or about February 29th, 2016, Plaintiff SHKOLNIKOVA reported to the Homecrest



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      location at the appropriate time and met with Station Supervisor Smerling for her job

      assignment whereupon he asked her why she was there and proceeded to not give her a

      job assignment.

28.   At this point in time, Plaintiff SHKOLNIKOVA met with Defendant LIVINGSTON

      concerning the doctor’s letter, which Defendant LIVINGSTON refused to honor,

      requesting a more thorough detailed description from the doctor.

29.   Thus, Defendant LIVINSTONG sent the Plaintiff SHKOLNIKOVA home, once again,

      violating her employment contract regarding the four-hour minimum.

30.   On or about March 1st, 2016, Plaintiff SHKOLNIKOVA reported for driving training at

      the “Two-Ton-Truck” driving course and completed six hours of training. Following the

      completion of her driving training, Plaintiff SHKOLNIKOVA returned to the Homecrest

      location to present her certification for truck driving, only to find out once again, that she

      was not scheduled to work that day.

31.   On or about March 8th, 2016, Plaintiff SHKOLNIKOVA presented a third note from Dr.

      Stromer, dated March 7th, 2018, where he made notations regarding all the information

      sought by Defendant USPS regarding her limitations.

32.   Plaintiff SHKOLNIKOVA again provided the letter to Station Supervisor Smerling, who

      stated that he would send the letter to Defendant LIVINGSTON, who would contact her

      regarding such, as well as her future schedule.

33.   At no point thereafter did Defendant LIVINGSTON reach out to Plaintiff

      SHKOLNIKOVA.          As a result, the Plaintiff SHKOLNIKOVA lost significant work

      hours.

34.   Indeed, from in or about March 9th, 2016, through in or about March 16th, 2016, in an



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      effort to continue gainful employment, Plaintiff SHKOLNIKOVA attempted to locate

      Defendant LIVINGSTON and speak to her in person by visiting postal service stations

      that she knew Defendant LIVINGSTON frequented but was unsuccessful in meeting her.

35.   At no point in any letter provided by Dr. Stromer was it recommended that Plaintiff

      SHKOLNIKOVA’s work hours be reduced; indeed, the doctor’s letters only spoke to her

      physical limitations regarding heavy duty.

36.   Each and every time Plaintiff SHKOLNIKOVA called the Homecrest location, Defendant

      LIVINGSTON was “not around” and Mr. Smerling essentially ignored all of Plaintiff

      SHKOLNIKOVA’s requests for a schedule.

37.   On or about March 10th, 2016, Plaintiff SHKOLNIKOVA filed an informal complaint

      with the USPS EEO Office.

38.   On or about March 16th, 2018, Plaintiff SHKOLNIKOVA was called by Mr. Timothy

      Lawson, the manager of the Midwood Station (hereafter “Midwood”) to inform her that

      she was to be retrained at the Bay Street location from March 17th through March 19th,

      2016.

39.   Plaintiff SHKOLNIKOVA subsequently completed all requisite training, yet was left in a

      similar position, awaiting a phone call for her schedule, which never came.

40.   Plaintiff SHKOLNIKOVA then contacted the Homecrest location following her training

      and was told to stay home until further notice. It was at this point that the Plaintiff

      realized she was being discriminated against for her pregnant status.

41.   Thus, following her completion of retraining on March 19th, 2016, Plaintiff never once

      received any working hours.

42.   On or about March 25th, 2016, Plaintiff SHKOLNIKOVA attended a hearing with



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      Defendant USPS’s “Reasonable Accommodation Committee.” During this hearing,

      Plaintiff SHKOLNIKOVA once again presented all of her doctor’s letters, and requested

      a reasonable accommodation in the form of a short-term transfer to a job that did not

      require her to lift, push, and pull excessive weight until after she gave birth.

43.   On or about April 2016, Plaintiff SHKOLNIKOVA received notice that her request to the

      reasonable accommodation committee was denied.

44.   On or about June 2nd, 2016, Defendant USPS sent a letter to Plaintiff SHKOLNIKOVA

      informing her that she had, in fact, been terminated.

45.   On or about June 3rd, 2016, Plaintiff SHKOLNIKOVA received a letter from Darrell K.

      Ahmed, an EEO ADR Specialist for Defendant USPS giving her a right to file a formal

      complaint.

46.   On or about June 17th, 2016, Plaintiff SHKOLNIKOVA filed a formal complaint against

      Defendant USPS.

47.   On or about August 14th, 2018, Plaintiff SHKOLNIKOVA received a decision from the

      EEOC stating that “after carefully considering the entire record…the evidence does not

      support a finding that the complainant was subjected to discrimination as alleged.

      Consequently, this complaint is now closed with a finding of no discrimination.” It is at

      this point, following the use of all appropriate channels, that Plaintiff SHKOLNIKOVA

      seeks redress in the United States District Court for the Eastern District of New York.

48.   Upon information and belief, Defendants terminated Plaintiff SHKOLNIKOVA’s

      employment solely because of Plaintiff’s pregnancy, and any other reason supplied was

      and is merely pretextual.

49.   But for the fact that Plaintiff was pregnant and female, Defendants would not have



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      terminated Plaintiff’s employment.

50.   Plaintiff feels offended, disturbed, and humiliated by the blatantly unlawful and

      discriminatory termination.

51.   Plaintiff has been unlawfully discriminated against, humiliated, and degraded, and as a

      result, suffers loss of rights, emotional distress, loss of income and earnings.

52.   Plaintiff’s performance was, upon information and belief, above average during the

      course of her employment with Defendants.

53.   Defendants’ actions and conduct were intentional and intended to harm Plaintiff.

54.   As a result of Defendants’ actions, Plaintiff feels extremely humiliated, degraded,

      victimized, embarrassed, and emotionally distressed.

55.   As a result of the acts and conduct complained of herein, Plaintiff has suffered and will

      continue to suffer the loss of income, the loss of a salary, bonuses, benefits and other

      compensation which such employment entails, and Plaintiff has also suffered future

      pecuniary losses, emotional pain, suffering, inconvenience, loss of enjoyment of life, and

      other non-pecuniary losses. Plaintiff further experienced severe emotional and physical

      distress.

56.   As a result of the above, Plaintiff has been damaged in an amount in excess of the

      jurisdiction of the Court.

57.   Defendants’ conduct has been malicious, willful, outrageous, and conducted with full

      knowledge of the law. As such, Plaintiff demands punitive damages as against all

      Defendants, jointly and severally.




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                      AS A FIRST CAUSE OF ACTION
          FOR DISCRIMINATION AND RETALIATION UNDER TITLE VII
                      (Not Against Individual Defendant)

58.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

      this complaint.

59.   This claim is authorized and instituted pursuant to the provisions of Title VII of the Civil

      Rights Act of 1964, 42 U.S.C. Section(s) 2000e et seq., for relief based upon the unlawful

      employment practices of the above-named Defendant USPS. Plaintiff complains of

      Defendant USPS’s violation of Title VII’s prohibition against discrimination and

      retaliation in employment based, in whole or in part, upon an employee’s pregnancy and

      gender (female).

60.   Defendant USPS engaged in unlawful employment practices prohibited by 42 U.S.C.

      §2000e, et seq., by discriminating and retaliating against Plaintiff because of her

      pregnancy and gender (female), as well as her request for reasonable accommodation of

      her pregnant condition.

 AS A SECOND CAUSE OF ACTION FOR DISCRIMINATIONAND RETALIATION
                    UNDER NEW YORK STATE LAW

61.   Plaintiff repeats, reiterates and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

62.    Executive Law § 296 provides that:

             1. It shall be an unlawful discriminatory practice: "(a) For an
             employer or licensing agency, because of an individual's age,
             race, creed, color, national origin, sexual orientation, military
             status, sex, disability, predisposing genetic characteristics,
             marital status, or domestic violence victim status, to refuse to
             hire or employ or to bar or to discharge from employment such
             individual or to discriminate against such individual in




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             compensation or in terms, conditions or privileges of
             employment.”

63.   Defendants engaged in unlawful employment practices by discriminating and retaliating

      against the Plaintiff because of her pregnancy and gender (female), as well as her request

      for reasonable accommodation of her pregnant condition.

                      AS A THIRD CAUSE OF ACTION
             UNDER NEW YORK STATE LAW AIDING AND ABETTING

64.    Plaintiff repeats, reiterates and realleges each and every allegation made in the above

       paragraphs of this Complaint as if more fully set forth herein at length.

65.   New York State Executive Law § 296(6) provides that it shall be an unlawful

      employment practice: “For any person to aid, abet, incite compel or coerce the doing of

      any acts forbidden under this article, or attempt to do so.”

66.   Defendants engaged in unlawful employment practices in violation of New York State

      Executive Law §296(6) by aiding, abetting, inciting, compelling and coercing the

      discriminatory or retaliatory conduct.

 AS AN FOURTH CAUSE OF ACTION FOR DISCRIMINATION AND RETALIATION
          UNDER THE NEW YORK CITY ADMINISTRATIVE CODE

67.   Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

68.   The New York City Administrative Code §8-107(1) provides that:

             It shall be an unlawful discriminatory practice: (a) For an employer
             or an employee or agent thereof, because of the actual or perceived
             age, race, creed, color, national origin, gender, disability, marital
             status, sexual orientation or alienage or citizenship status of any
             person, to refuse to hire or employ or to bar or to discharge from
             employment such person or to discriminate against such person in
             compensation or in terms, conditions or privileges of employment.




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69.      Defendants engaged in unlawful employment practices in violation of the New York City

         Administrative Code §8-107(1)(a) by creating and maintaining discriminatory and

         retaliatory working conditions, and otherwise discriminating against Plaintiff because of

         her pregnancy and gender (female), as well as her request for reasonable accommodation

         of her pregnant condition.

                       AS A FIFTH CAUSE OF ACTION FOR DISCRIMINATION
                       UNDER THE NEW YORK CITY ADMINISTRATIVE CODE

70.      Plaintiff repeats, reiterates and realleges each and every allegation made in the above

         paragraphs of this Complaint as if more fully set forth herein at length.

71.      The New York City Administrative Code § 8-107(6) provides that it shall be unlawful

         discriminatory practice: “For any person to aid, abet, incite, compel; or coerce the doing

         of any of the acts forbidden under this chapter, or attempt to do so.”

72.      Defendants engaged in unlawful employment practices in violation of New York City

         Administrative Code § 8-107(6) by aiding, abetting, inciting, compelling and coercing the

         above discriminatory, unlawful and retaliatory conduct.

                                            JURY DEMAND

73.      Plaintiff requests a jury trial on all issues to be tried.

         WHEREFORE, Plaintiff respectfully requests a judgment against the Defendants:

A. Declaring that Defendants engaged in unlawful employment practices prohibited by the Title

      VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e et. seq., the New York

      State Human Rights Law, New York State Executive Law, § 296 et. seq., and the New York

      City Human Rights Law, New York City Administrative Code, §8-107 et. seq., in that

      Defendants discriminated against Plaintiff on the basis of her pregnancy and gender (female),




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